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8                                    UNITED STATES DISTRICT COURT

9                               CENTRAL DISTRICT OF CALIFORNIA

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11   PORTIA MASON,                             )   Case No. CV 21-7868 FMO (KSx)
                                               )
12                      Plaintiff,             )
                                               )
13               v.                            )   JUDGMENT
                                               )
14   INTERIOR DEFINE, INC., et al.,            )
                                               )
15                      Defendant.             )
                                               )
16

17         IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.

18   Dated this 24th day of November, 2021.

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20                                                                   /s/
                                                              Fernando M. Olguin
21                                                         United States District Judge

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